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                                                                                 E-FILED
                                                    Wednesday, 07 March, 2007 04:33:25 PM
                                                             Clerk, U.S. District Court, ILCD
           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                 Plaintiff,                 )
                                            )
           v.                               )      No. 06-30034
                                            )
BILLY JOE BOWSER,                           )
                                            )
                 Defendant.                 )

                                 OPINION

JEANNE E. SCOTT, U.S. District Judge:

     This matter came before the Court on Defendant Billy Joe Bowser’s

sentencing hearing, held March 5, 2007. Defendant Bowser appeared in

person and by his attorney Douglas Beevers. The Government appeared by

Assistant United States Attorney John Childress. On October 24, 2006,

Defendant appeared before U.S. Magistrate Judge Byron G. Cudmore and

pleaded guilty to the following counts of the Indictment (d/e 6): Count 1,

Receipt of Child Pornography, in violation of 18 U.S.C. § 2252(a)(2)(A);

Count 2, Shipping and Transporting Child Pornography, in violation of 18

U.S.C. § 2252A(a)(1); and Count 3, Possession of Child Pornography, in

violation of 18 U.S.C. § 2252(a)(5)(B). Judge Cudmore issued a Report and

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Recommendation (d/e 12) on that date recommending that this Court

accept the Defendant’s pleas of guilty. By Text Order dated November 15,

2006, the Court accepted Bowser’s pleas of guilty. The United States

Probation Office prepared a Revised Presentence Report (PSR), dated

February 16, 2007. The Government had no objections to the PSR.

     Bowser made numerous objections to the PSR; specifically, he objected

to ¶¶ 13, 17, 18, 21, 22, 28, 34, 43, 57 and 63. Bowser objected to the

statement in ¶ 13 that he had advised agents that he used the WinMX

program for approximately two years. For the reasons stated of record, the

Court sustained the objection, in part, and overruled the objection, in part.

Bowser testified in open court that he used the WinMX program from mid-

2005 until the time of his arrest. Based on this testimony, the Court

determined that Defendant used the WinMX program for approximately

nine months, not 2 years as provided in the PSR.

     Bowser objected to ¶ 17, asserting that adding the 1,000 images for

distribution and again for receipt is double-counting the same images, and

that some images included children who were clothed. For the reasons

stated of the record, the Court overruled the objection. The Court noted

that when the images are downloaded, shared or possessed at different times

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or moved from one computer to another, they are separately counted in

accordance with the applicable rules. The Court also noted that a child

depicted in the image can be clothed in a provocative manner such that the

image would still be one of child pornography. The Court additionally

indicated that Defendant’s argument lacked merit, not only because he

failed to carry his burden, but also because the Government noted in its

response that law enforcement agents used hash value images in evaluating

whether a particular image was child pornography. The objections to ¶ 17

were overruled.

     Bowser objected to the statement in ¶ 18, arguing that of the 5,000

images he deleted, there were images of children who were clothed and so

such images should not have been counted. For the reasons stated of

record, the Court overruled the objection. Defendant testified in open court

that he deleted 5,000 images of child pornography.                Based on this

testimony, the Court overruled the objection to ¶ 18.

     Bowser objected to ¶¶ 21, 22 and 28, based on the same arguments

noted above. The Court overruled the objections to these paragraphs based

on the aforementioned reasons.

     Bowser objected to ¶ 34, which held him accountable for over 95,000

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images of child pornography, on the grounds that there was double-counting

of duplicate images and that some of the images showed children who were

clothed. For the reasons stated of record, the Court sustained the objection,

in part, and overruled the objection, in part. The Court noted that there

was insufficient evidence to verify Defendant’s claims in full, but the Court

gave Defendant the benefit of the doubt as to 15,000+ images. The Court,

therefore, held Defendant accountable for approximately 80,000 images

instead.

     Defendant objected to ¶ 43, which called for the imposition of a five-

level enhancement in his offense level for trading child pornography. For

the reasons stated of record, the Court overruled the objection. The Court

noted that Defendant himself acknowledged on the stand that he

participated in the running of a child pornography site (namely, “Kiddypics

& Kiddyvids”) dedicated to the trading of child pornography. The Court

further noted that Defendant used the Hello and WinMX programs to

obtain child pornography.          Also, the Court noted that Defendant

acknowledged in ¶ 15 of the PSR, to which there was no objection, that he

traded images of child pornography through chat rooms using WinMX,

“Kiddypics & Kiddyvids”, and Hello and that he frequented the chat room

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“Kiddypics & Kiddyvids” to obtain thousands of images of child

pornography from “Lonely Leo57.” The Court finally noted that while

Defendant objected to ¶ 17, as noted above, he did not object to the

statement in that paragraph which provided that Defendant allowed other

distributors of child pornography to download images of child pornography

from his computer via WinMX and that he even traded images through the

Hello program with “Lonely Leo57" and someone else, including his 6-year

old daughter’s school picture. Based on the abundance of evidence, the

Court overruled the objection to ¶ 43.

     Defendant objected to ¶¶ 57 and 63, but withdrew those objections.

The Court noted that if it were called on to rule on such objections, the

Court would find that the Criminal History points were appropriately given

under the Guidelines.

     Defendant had no other objections to the PSR. Thus, the Court

adopted the PSR as written and adopted its findings, with the exception of

the sustained objections noted above. The Court determined that Bowser

had a final offense level under the Guidelines of 37 and a Criminal History

Category of Category II, which yielded a Guideline Sentencing range of 235

to 240 months for Counts 1 and 2, based on the fact that the statutory

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maximum sentence for these counts was 240 months, and 120 months for

Count 3. The Court noted that the Guidelines are advisory, and that the

Court was required to exercise its discretion to determine Defendant

Bowser’s sentence, considering the Guidelines, the statutory sentencing

factors, and all other relevant information. United States v. Booker, 543

U.S. 220 (2005): 18 U.S.C. § 3553(a).

     In sentencing Defendant, the Court determined that the statutory

maximum sentence for each count would be appropriate. In stating its

reason, the Court noted the number of images of child pornography

involved (specifically, 80,000 images) would justify an upward departure if

this case’s guideline range were not already at the statutory maximum; the

Court also noted the fact that the children depicted in the images were so

young and physically abused, and, more disturbingly, the fact that

Defendant himself distributed a picture of his 6 year old daughter to other

participants in the chat room.

     The Court rejected Defendant’s argument that he should be sentenced

at either the very low end of the Guideline range or below the Guideline

range based on his acceptance of responsibility and his attempt to

cooperate.   The Court noted that Defendant was given credit for his

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acceptance of responsibility in calculating the Guideline range. The Court

further noted that even with such credit, Defendant’s Guideline range was

still such that the statutory maximum was below the halfway point in what

would otherwise have been the full Guideline range.

     The Court also rejected Defendant’s argument that the sentence

imposed in this case should be consistent with the sentence imposed in

another unrelated case heard the same day, involving a similar type of crime.

The Court explained that there were several differences between the instant

case and the earlier case. First, the Court noted that there was a difference

of 50,000 images. Second, the Court noted that Defendant Bowser had a

more serious criminal record than the earlier defendant. Lastly, the Court

noted that there was a greater degree of participation in the chat rooms by

Defendant Bowser than the earlier defendant.             The Court noted that

Bowser’s activity and the activity of others who participated in the exchange

of images of child pornography created a market for those who make such

images, who profit from such images, and who abuse and exploit the

children depicted in such images. Based on these reasons, the Court found

no justification for a lesser sentence and determined that the statutory

maximum sentence for each of the counts would be appropriate.

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     THEREFORE, after considering the case file, the commentaries filed

by counsel, the PSR, the statements of counsel, Defendant’s own statement,

the applicable Sentencing Guidelines, and the sentencing factors set forth

in 18 U.S.C. § 3553(a), the Court sentenced Defendant Bowser to 240

months for each of Counts 1 and 2, and 120 months for Count 3, all to run

concurrently. After his release from prison, Bowser was ordered to serve a

life term of supervised release. No fine was ordered. The Court ordered

Defendant to pay a $300.00 special assessment, due immediately. The

Court advised Bowser of his appeal rights.

IT IS THEREFORE SO ORDERED.

ENTER: March 7, 2007.

        FOR THE COURT:

                                          s/ Jeanne E. Scott
                                         JEANNE E. SCOTT
                                   UNITED STATES DISTRICT JUDGE




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